
132 U.S. 191 (1889)
MISSOURI PACIFIC RAILWAY COMPANY
v.
CHICAGO AND ALTON RAILROAD COMPANY.
No. 66.
Supreme Court of United States.
Submitted November 5, 1889.
Decided November 25, 1889.
ERROR TO THE CIRCUIT COURT OF THE UNITED STATES FOR THE EASTERN DISTRICT OF MISSOURI.
Mr. John F. Dillon for plaintiff in error.
Mr. Alexander Martin and Mr. Robert H. Kern for defendant in error.
MR. JUSTICE GRAY delivered the opinion of the court.
In this action, tried by the Circuit Court without a jury, there is no case stated by the parties, or finding of facts by the court. The bill of exceptions, after setting forth all the evidence introduced at the trial, states that "there were no declarations of law asked for, or given by the court;" and the single exception taken is to the overruling of a motion for a new trial, which is a matter of discretion, and not a subject of exception, according to the practice of the courts of the United States. In regard to motions for a new trial, and bills of exceptions, those courts are independent of any statute or practice prevailing in the courts of the State in which the *192 trial is had. Indianapolis Railroad v. Horst, 93 U.S. 291; Newcomb v. Wood, 97 U.S. 581; Chateaugay Iron Co., Petitioner, 128 U.S. 544.
Judgment affirmed.
